          Case 1:24-cv-03136-TOR                    ECF No. 9            filed 12/16/24      PageID.33          Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington
                                                                                                              Dec 16, 2024
                                                                                                                   SEAN F. MCAVOY, CLERK


                     DEMARCUS HOLT                                   )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:24-CV-3136-TOR
                                                                     )
         YAKIMA COUNTY DEPARTMENT OF                                 )
               CORRECTIONS and
                CHIEF B. SPLAWN
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to the Order filed at ECF No 8, this action is DISMISSED without prejudice for failing to pay the filing fee or
’
              filing a properly completed Application to Proceed In Forma Pauperis pursuant to 28 U.S.C. §§ 1914(a) and 1915(a).




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              THOMAS O. RICE




Date: 12/16/2024                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                              s/Wendy Kirkham
                                                                                          (By) Deputy Clerk

                                                                             Wendy Kirkham
